                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF ALABAMA

IN RE:                                                    )
                                                          )
STACY LAVELL FOSTER,                                      )       Case No. 23-10003
                                                          )
                                                          )
           Debtor.


      MEMORANDUM OPINION AND ORDER FOR PAYMENT OF UNCLAIMED FUNDS

           This matter came before the Court on the Application for Payment of Unclaimed Funds

filed by the United States of America and the Response of the Debtor, Stacy Lavell Foster.

(Docs.83,86). Upon consideration of the pleadings, the record, the arguments, and the briefs, this

Court finds that the United States’ Application is due to be granted for the reasons below.

                                                 JURISDICTION

           This Court has jurisdiction to hear these matters pursuant to 28 U.S.C. §§1334 and 157,

and the Order of Reference by the District Court dated August 25, 2015. This is a core proceeding

pursuant to 28 U.S.C. §157(b) and this Court has the authority to enter a final order.



                              PROCEDURAL BACKGROUND AND FACTS

           The Debtor, Stacey Lavell Foster, (“Foster”) filed this Chapter 13 bankruptcy on January

3, 2023. The Internal Revenue Service (”IRS”) timely filed its proof of claim (“Claim”) reflecting

that Foster owed $372,978.51 1 in tax liabilities on the date of filing. (ECF Claim No. 8-1). The

attachments to the IRS’ Claim indicate that it perfected pre-petition tax liens in the Probate Court

of Mobile County, Alabama.(Id.). During the pendency of the Chapter 13, Foster did not challenge



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    $105,032.00 as secured and $222,797.80 as priority.

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the taxes due, the IRS liens, or notice thereof. The Chapter 13 Trustee and the United States

objected to confirmation of the Debtor’s Plan and amendments thereto.(Docs. 21, 23, 44, 45, 52).

Despite several continuances, Foster was not able to resolve the pending objections or propose a

feasible plan and the Chapter 13 was dismissed on September 8, 2023. (Doc. 56).

        The Trustee’s Final Report and Accounting reflected a refund due to the Debtor in the

amount of $43,683.06. 2 (Doc. 59). Upon Foster’s failure to negotiate several checks within the

requisite time, the Trustee transmitted $38,683.06 3 (“Unclaimed Funds”) into the Court's registry

under 11 U.S.C. §347(a) and Fed.R.Bankr.P. 3011. (Docs. 60, 67, 69). Foster filed an Application

for Payment of the Unclaimed Funds on May 13, 2024, and the United States objected thereto. 4

(Docs. 77,78,79). An initial hearing was held on June 12, 2024. The Debtor did not appear at the

setting. Debtor’s counsel stated that he did not have a defense to the IRS’s objection, and this Court

sustained the IRS’s Objection and disapproved the Debtor’s Application. (Doc. 82).

        The IRS subsequently filed an Application for Payment of the Unclaimed Funds. (Doc.

83). The Debtor filed a Response thereto asserting entitlement to the Unclaimed Funds despite the

IRS lien. (86). The Court set the matter for hearing and oral arguments were considered. At the

conclusion of the hearing, counsel was allowed thirty days to file a brief in reply to the Debtor’s

Response and address the In re Acosta decision cited therein. 2018 WL 3245174, 2018 Bankr.

LEXIS 2008 (Bankr.D.P.R. July 3, 2018). The time for additional briefing has expired and this

matter is now ripe for adjudication.



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  The Unclaimed Funds accumulated from the Debtor’s plan payments to the Trustee during the pendency of the case,
totaling $45,000 less $930.00 paid on secured claims, $313.00 for the filing fee, and $73.94 in Trustee fees. The net
of $43,683.06 was not distributed to creditors because the Debtor’s plan was never confirmed.
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  This is the total amount of three checks that were not negotiated by the Debtor from the $43,683.06 that was
remitted by the Chapter 13 Trustee.
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  The Record also reflects prior Applications for Payment of Unclaimed Funds, purportedly filed by the Debtor which
were denied because of noted deficiencies and the Bankruptcy Administrator’s Objection indicating that the
Application(s) were fraudulent and not in fact filed by the Debtor. (Docs. 64, 65, 66).

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                                                     ANALYSIS

           This opinion addresses the intersection of three provisions of the United States Code. 11

U.S.C.§1326(a)(2); 26 U.S.C.§6321; 28 U.S.C.§2042.

Chapter 129 of Title 28 of the United States Code states in part that,

           . . . No money deposited under section 2041 of this title shall be withdrawn
           except by order of court . . . any claimant entitled to any such money may, on
           petition to the court and upon notice to the United States attorney and full proof
           of the right thereto obtain an order directing payment to him.

28 U.S.C.§ 2042.

Section 1326 of Title 11 of the United States Code (the “Bankruptcy Code”) states in part that,

           . . . A payment made under paragraph (1)(A) shall be retained by the trustee
           until confirmation or denial of confirmation. If a plan is confirmed, the trustee
           shall distribute any such payment in accordance with the plan as soon as is
           practicable. If a plan is not confirmed, the trustee shall return any such payments
           not previously paid and not yet due and owing to creditors pursuant to paragraph
           (3) to the debtor, after deducting any unpaid claim allowed under section
           503(b). 5

11 U.S.C.§1326(a)(2).

Title 26 of the United States Code, (the “Internal Revenue Code”) states in part that,

            . . . [i]f any person liable to pay any tax neglects or refuses to pay the same
           after demand, the amount (including any interest, additional amount, addition
           to tax, or assessable penalty, together with any costs that may accrue in addition
           thereto) shall be a lien in favor of the United States upon all property and rights
           to property, whether real or personal, belonging to such person.

26 U.S.C. §6321.

         Foster contends that she is entitled to the Unclaimed Funds under the plain language of 11

U.S.C. §1326(a)(2). In support of her position, she cites In re Acosta. 2018 WL 3245174, 2018

Bankr. LEXIS 2008 (Bankr.D.P.R. July 3, 2018). The Acosta Court held that the debtor was


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  “Paragraph (1)(A)” requires debtors to commence making payments not later than 30 days after the date of the
filing of the plan or the order for relief, whichever is earlier, in the amount. proposed by the plan to the trustee and
an “unpaid claim allowed under §503(b)” includes adequate protection payments and administrative claims.

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entitled to unclaimed funds notwithstanding the United States’ opposition and assertion of a

superior claim based on its pre-petition tax liens. Id. The Acosta court reasoned that: (1) disbursing

funds to the debtor did not place federal statutes at odds because it essentially returned the parties

to the status quo had the bankruptcy not been filed; (2) rules of statutory construction require that

the plain, unambiguous language of §1326(a)(2) be applied as written; and (3) allowing such a

levy would be inconsistent with public policy by creating a race to the courthouse, burdening the

court, and discouraging debtor’s from filing Chapter 13. Id.

       The IRS maintains that it is entitled to the Unclaimed Funds because federal tax liens attach

to all property and rights to property, whether real or personal, belonging to the taxpayer at the

time the lien arises and property acquired thereafter, unless specifically exempted by statute. 26

U.S.C. §6321; Glass City Bank v. United States, 326 U.S. 265, 267, 66 S. Ct. 108, 110 (1945). The

IRS also posits that Acosta was wrongly decided and that this Court should follow In re Pruitt and

In re Brown, which held that funds due to the debtor were subject to IRS levy. In re Pruitt, 2008

Bankr. LEXIS 1571, 2008 WL 2079145 (Bankr. M.D. Ala. May 15, 2008); In re Brown, 280 B.R.

231 (Bankr. E.D. Wis. 2002). In Pruitt, the Bankruptcy Court for the Middle District of Alabama

recognized that “ . . . courts are not at liberty to pick and choose when two statutes are capable of

co-existence and in such instances, it is their duty to regard each as effective." 2008 Bankr. LEXIS

1571, 7 (citing …Morton v. Mancari, 417 U.S. 535, 551, 94 S. Ct. 2474, 41 L. Ed. 2d 290 (1974)).

Thus, it harmonized §1326(a)(2) with 26 U.S.C. §6334, which provides in part, that, “ . . . no

property or rights to property shall be exempt from levy other than the property specifically made

exempt by subsection (a).” 26 U.S.C.§6334(c). Since §1326(a)(2) is not listed among the 13

categories specifically exempted from levy under §6334(a), the Pruitt court concluded that funds

held by the Chapter 13 Trustee were not exempt from an IRS levy. Id.



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           In Brown, the Bankruptcy Court for the Eastern District of Wisconsin held that unclaimed

funds resulting from payments made by the Debtor to the Chapter 13 Trustee prior to pre-

confirmation dismissal were subject to levy by the IRS. In re Brown at 234.            The opinion states

in part,

                    This court is satisfied that the IRS' position is correct with respect to both
            substance and procedure. Cases dealing with state law created liens, which
            required return of assets to the debtor, seem to require state court procedure for
            enforcement of those liens, a result that is not necessary in the instant case
            involving a federal tax lien. The IRS had a valid prepetition lien on all
            nonexempt property of the debtor, including the debtor's funds in possession of
            the trustee, and the lien followed those funds when they were transferred to the
            Clerk of Bankruptcy Court.
Id.

The Brown Court also noted that while the IRS did not serve the court clerk with a notice of levy,

its challenge to the debtor's right to the funds provided an opportunity to dispute the claim and met

the requirements of due process. Id.

           In re Pruitt and In re Brown both rely on the Ninth Circuit’s decision of In re Beam, which

held that plan payments made by debtors before withdrawing their petition were subject to IRS

levy. 192 F.3d 941 (9th Cir. 1999). In doing so, the Beam Court rejected the argument that the

specific construct of §1326(a)(2) trumps the general language of §6334(c) and stated in part,

            We are persuaded that Congress clearly intended to exclude from IRS levy only
            those 13 categories of property specifically-exempted in section 6334(a). In
            drafting the levy authority of the Internal Revenue Service, Congress set forth
            in unambiguous language that “no property or rights shall be exempt from levy
            other than property specifically made exempt by [§ 6334](a).” 26 U.S.C. §
            6334(c). Section 1326(a)(2) of the Bankruptcy Code is not listed among the 13
            items exempt from levy under § 6334(a). Moreover, courts have construed the
            plain language of § 6334 literally and have refused to exempt property from IRS
            levy which is not specifically exempted by the statute.

Id. at 944.

           Although the law on the issue presented is not well settled, this Court finds the reasoning



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of In re Pruitt, In re Beam, and In re Brown, the most convincing. In re Acosta, despite its recency,

is neither a circuit court decision nor a decision of a court in this circuit. Additionally, the public

policy rationale espoused in Acosta is not persuasive. Bankruptcy courts routinely adjudicate

entitlement to funds and this Court expects that an honest but unfortunate debtor would not be

dissuaded from filing bankruptcy upon learning that funds paid to the Chapter 13 trustee would be

subject to creditors’ claims. Although 11 U.S.C. §1326(a)(2) generally entitles a Chapter 13 debtor

to a refund of undistributed payments when the case is dismissed pre-confirmation, the IRS has

broad powers to levy under 26 U.S.C. §6321, and the limited exceptions under 28 U.S.C. §6334

do not apply here. Further, as the Unclaimed Funds are held in the Court’s Registry, this Court

must simply determine which party has the superior right thereto. 6 Accordingly, this Court finds

that the IRS’s claim to the Unclaimed Funds provided adequate notice and met the requirements

of due process for this Court to adjudicate the rights of the parties thereto, and that the Debtor’s

entitlement to the Unclaimed Funds is superseded by the IRS’s pre-petition, perfected tax lien.



                                                 CONCLUSION

         Based on the above, it is hereby ORDERED, ADJUDGED, and DECREED that the

Application for Payment of Unclaimed Funds filed by the IRS is GRANTED and the Debtor’s

Response in objection thereto is OVERRULED. It is further ORDERED that in accordance with

the provisions of 28 U.S.C. §2042, this Court hereby authorizes the Clerk of Court to disburse,

after 14 calendar days from the entry of this Order, the UNCLAIMED FUNDS in the sum of




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  This holding is limited to instances wherein unclaimed funds are held in the court registry and there is no claim of
exemption. The facts of this case did not involve any funds held by the Chapter 13 Trustee and the Debtor did not
raise any claim of exemption with regard to the unclaimed funds.

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$38,683.06 to the IRS to be applied toward the indebtedness secured by the tax lien on the Debtor’s

property.

Dated: November 1, 2024




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